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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                        )
 AMERICAN OVERSIGHT,                    )
 1030 15th Street NW, B255              )
 Washington, DC 20005                   )
                                        )
                             Plaintiff, )
                                        )
 v.                                     )                 Case No. 19-cv-2119
                                        )
 U.S. DEPARTMENT OF EDUCATION,          )
 400 Maryland Avenue SW                 )
 Washington, DC 20202                   )
                            Defendant. )
                                        )
                                        )

                                         COMPLAINT

       1.      Plaintiff American Oversight brings this action against the U.S. Department of

Education under the Freedom of Information Act, 5 U.S.C. § 552 (FOIA), and the Declaratory

Judgment Act, 28 U.S.C. §§ 2201 and 2202, seeking declaratory and injunctive relief to compel

compliance with the requirements of FOIA.

                                JURISDICTION AND VENUE

       2.      This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. §§ 1331, 2201, and 2202.

       3.      Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C.

§ 1391(e).

       4.      Because Defendant has failed to comply with the applicable time-limit provisions

of FOIA, American Oversight is deemed to have exhausted its administrative remedies pursuant

to 5 U.S.C. § 552(a)(6)(C)(i) and is now entitled to judicial action enjoining the agency from




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continuing to withhold agency records and ordering the production of agency records improperly

withheld.

                                           PARTIES

       5.      Plaintiff American Oversight is a nonpartisan, non-profit section 501(c)(3)

organization primarily engaged in disseminating information to the public. American Oversight

is committed to the promotion of transparency in government, the education of the public about

government activities, and ensuring the accountability of government officials. Through research

and FOIA requests, American Oversight uses the information gathered, and its analysis of it, to

educate the public about the activities and operations of the federal government through reports,

published analyses, press releases, and other media. The organization is incorporated under the

laws of the District of Columbia.

       6.      Defendant U.S. Department of Education (Education) is a department of the

executive branch of the U.S. government headquartered in Washington, DC, and an agency of

the federal government within the meaning of 5 U.S.C. § 552(f)(1). Education has possession,

custody, and control of the records American Oversight has requested.

                                    STATEMENT OF FACTS

       7.      On May 16, 2019, the Department of Education Inspector General (IG) issued a

report summarizing the findings of the IG’s review of Education officials’ use of personal email

to conduct agency business. The report noted that the IG had identified instances where

Secretary DeVos used personal email accounts to conduct agency business and stated that “the

Secretary’s emails related to government business were not always being properly preserved.”

Ltr. from Sandra D. Bruce, Acting Inspector General, U.S. Dep’t of Education, to Rep. Rose

DeLauro, Chairwoman, U.S. House of Representatives, Subcommittee on Labor, Health and




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Human Services, Education, and Related Agencies, May 16, 2019,

https://www2.ed.gov/about/offices/list/oig/auditrpts/responserepdelaurouseofemail05162019.pdf.

          8.        On November 29, 2018, American Oversight submitted a FOIA request to

Education seeking:

               1. All records reflecting email communications (including any email
                  attachments) with any non-governmental email address attributed to
                  Secretary Betsy DeVos.

                  Your agency may limit its search to the following individuals:

                   a)   Nate Bailey
                   b)   Joshua Venable
                   c)   Jessica Newman
                   d)   Nate Breeding
                   e)   Robert Eitel

               2. All emails sent from (a) any non-governmental email address attributed
                  to Secretary DeVos to (b) any governmental email address associated
                  with Secretary DeVos. Please include all messages, including those that
                  have been forwarded to Secretary DeVos’s governmental email address
                  or on which Secretary Devos’s governmental email address is carbon
                  copied.

                  Please provide all responsive records from January 20, 2017, to the date
                  the search is conducted.

          9.        By letter dated December 3, 2018, Education acknowledged receipt of American

Oversight’s FOIA request and assigned the request tracking number 19-000418-F.

          10.       By letter dated December 20, 2018, Education notified American Oversight that it

would not respond to American Oversight’s FOIA request within the statutorily required time

period.

          11.       American Oversight has received no further communication from Education

regarding the processing of its FOIA request.




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                              Exhaustion of Administrative Remedies

       12.     As of the date of this Complaint, Education has failed to (a) notify American

Oversight of any determination regarding its FOIA request, including the scope of any

responsive records Education intends to produce or withhold and the reasons for any

withholdings; or (b) produce the requested records or demonstrate that the requested records are

lawfully exempt from production.

       13.     Through Education’s failure to respond to American Oversight’s FOIA request

within the time period required by law, American Oversight has constructively exhausted its

administrative remedies and seeks immediate judicial review.

                                         COUNT I
                             Violation of FOIA, 5 U.S.C. § 552
               Failure to Conduct Adequate Searches for Responsive Records

       14.     American Oversight repeats the allegations in the foregoing paragraphs and

incorporates them as though fully set forth herein.

       15.     American Oversight properly requested records within the possession, custody,

and control of Education.

       16.     Education is an agency subject to FOIA, and it must therefore make reasonable

efforts to search for requested records.

       17.     Education has failed to promptly review agency records for the purpose of

locating those records that are responsive to American Oversight’s FOIA request.

       18.     Education’s failure to conduct adequate searches for responsive records violates

FOIA and Education regulations.




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       19.     Plaintiff American Oversight is therefore entitled to injunctive and declaratory

relief requiring Defendant to promptly make reasonable efforts to search for records responsive

to American Oversight’s FOIA request.

                                       COUNT II
                            Violation of FOIA, 5 U.S.C. § 552
                 Wrongful Withholding of Non-Exempt Responsive Records

       20.     American Oversight repeats the allegations in the foregoing paragraphs and

incorporates them as though fully set forth herein.

       21.     American Oversight properly requested records within the possession, custody,

and control of Education.

       22.     Education is an agency subject to FOIA, and it must therefore release in response

to a FOIA request any non-exempt records and provide a lawful reason for withholding any

materials.

       23.     Education is wrongfully withholding non-exempt agency records requested by

American Oversight by failing to produce non-exempt records responsive to its FOIA request.

       24.     Education is wrongfully withholding non-exempt agency records requested by

American Oversight by failing to segregate exempt information in otherwise non-exempt records

responsive to American Oversight’s FOIA request.

       25.     Education’s failure to provide all non-exempt responsive records violates FOIA

and Education regulations.

       26.     Plaintiff American Oversight is therefore entitled to declaratory and injunctive

relief requiring Defendant to promptly produce all non-exempt records responsive to its FOIA

request and provide indexes justifying the withholding of any responsive records withheld under

claim of exemption.




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                                   REQUESTED RELIEF

WHEREFORE, American Oversight respectfully requests the Court to:

       (1) Order Defendant to conduct a search or searches reasonably calculated to uncover all

          records responsive to American Oversight’s FOIA request;

       (2) Order Defendant to produce, within twenty days of the Court’s order, or by such other

          date as the Court deems appropriate, any and all non-exempt records responsive to

          American Oversight’s FOIA request and indexes justifying the withholding of any

          responsive records withheld under claim of exemption;

       (3) Enjoin Defendant from continuing to withhold any and all non-exempt records

          responsive to American Oversight’s FOIA request;

       (4) Award American Oversight the costs of this proceeding, including reasonable

          attorneys’ fees and other litigation costs reasonably incurred in this action, pursuant

          to 5 U.S.C. § 552(a)(4)(E); and

       (5) Grant American Oversight such other relief as the Court deems just and proper.

Dated: July 17, 2019                                Respectfully submitted,

                                                    /s/ Daniel A. McGrath
                                                    Daniel A. McGrath
                                                    D.C. Bar No. 1531723
                                                    Cerissa Cafasso
                                                    D.C. Bar No. 1011003

                                                    AMERICAN OVERSIGHT
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                                                    Counsel for Plaintiff




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